Case: 1:08-cr-00481-PAG Doc #: 210 Filed: 12/18/09 1 of 13. PageID #: 1732
Case: 1:08-cr-00481-PAG Doc #: 210 Filed: 12/18/09 2 of 13. PageID #: 1733
Case: 1:08-cr-00481-PAG Doc #: 210 Filed: 12/18/09 3 of 13. PageID #: 1734
Case: 1:08-cr-00481-PAG Doc #: 210 Filed: 12/18/09 4 of 13. PageID #: 1735
Case: 1:08-cr-00481-PAG Doc #: 210 Filed: 12/18/09 5 of 13. PageID #: 1736
Case: 1:08-cr-00481-PAG Doc #: 210 Filed: 12/18/09 6 of 13. PageID #: 1737
Case: 1:08-cr-00481-PAG Doc #: 210 Filed: 12/18/09 7 of 13. PageID #: 1738
Case: 1:08-cr-00481-PAG Doc #: 210 Filed: 12/18/09 8 of 13. PageID #: 1739
Case: 1:08-cr-00481-PAG Doc #: 210 Filed: 12/18/09 9 of 13. PageID #: 1740
Case: 1:08-cr-00481-PAG Doc #: 210 Filed: 12/18/09 10 of 13. PageID #: 1741
Case: 1:08-cr-00481-PAG Doc #: 210 Filed: 12/18/09 11 of 13. PageID #: 1742
Case: 1:08-cr-00481-PAG Doc #: 210 Filed: 12/18/09 12 of 13. PageID #: 1743
Case: 1:08-cr-00481-PAG Doc #: 210 Filed: 12/18/09 13 of 13. PageID #: 1744
